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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )      PRETRIAL STATUS CONFERENCE
              Plaintiff,                     )
                                             )
       vs.                                   )
                                             )      Case No.: 1:22-cr-185
Myron Johnson,                               )
                                             )
              Defendant.                     )


       The undersigned shall hold a pretrial status conference with counsel by telephone on April

5, 2023, at 10:30 AM. To participate, counsel shall call (877) 810-9415 and enter access code

8992581. Counsel are strongly encouraged to consult with each other prior to the conference. This

will enable the conference to progress more expeditiously

       IT IS SO ORDERED.

       Dated this 22nd day of March, 2023.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court
